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                    Exhibit A
         Case
          Case06-10725-gwz
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                                                   10/27/09   11:20:37 Page
                                                                        Page1 2ofof4 5




 1
 2                           Entered on Docket
                             October 27, 2009            __________________________________
 3                                                                Hon. Linda B. Riegle
                                                            United States Bankruptcy Judge
 4___________________________________________________________
 5
     LEWIS AND ROCA LLP
 6   Rob Charles (NV 6593)
     John Hinderaker (AZ 018024)
 7   3993 Howard Hughes Parkway, Ste. 600
     Las Vegas, Nevada 89169-5996
 8   Telephone (702) 949-8320
     Facsimile (702) 949-8321
 9   Email: rcharles@lrlaw.com
             jhinderaker@lrlaw.com
10   Attorneys for USACM Liquidating Trust

11                            UNITED STATES BANKRUPTCY COURT
12                                           DISTRICT OF NEVADA
13   In re:                                                   Case No. BK-S-06-10725-LBR
                                                              Case No. BK-S-06-10726-LBR1
14   USA COMMERCIAL MORTGAGE COMPANY,                         Case No. BK-S-06-10727-LBR
                                                              Case No. BK-S-06-10728-LBR2
15   USA CAPITAL REALTY ADVISORS, LLC,1                       Case No. BK-S-06-10729-LBR3

16   USA CAPITAL DIVERSIFIED TRUST DEED                       CHAPTER 11
     FUND, LLC,
17                                                            Jointly Administered Under
     USA CAPITAL FIRST TRUST DEED FUND, LLC,2                 Case No. BK-S-06-10725 LBR
18
     USA SECURITIES, LLC,3                                    ORDER SUSTAINING SEVENTEENTH
19                                            Debtors.        OMNIBUS OBJECTION OF USACM
                                                              LIQUIDATING TRUST TO DOUBLE
20   Affects:                                                 COUNTED CLAIMS
      All Debtors
21   ⌧ USA Commercial Mortgage Company                        Hearing Date:   October 19, 2009
      USA Capital Realty Advisors, LLC                       Hearing Time.   3:00 p.m.
22    USA Capital Diversified Trust Deed Fund, LLC
      USA Capital First Trust Deed Fund, LLC
23    USA Securities, LLC

24
25
26
     1
       This bankruptcy case was closed on September 23, 2008.
     2
       This bankruptcy case was closed on October 12, 2007.
     3
       This bankruptcy case was closed on December 21, 2007.
                                                                                            260884_1.DOC
      Case
       Case06-10725-gwz
            06-10725-lbr     Doc
                             Doc 7743-1 Entered
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 1         The Court having considered the “Seventeenth Omnibus Objection of USACM
 2   Liquidating Trust to Double Counted Claims; and Certificate of Service” [DE 7527] (the
 3   “Objection”); the Court having heard the Objection on October 19, 2009; appropriate
 4   notice of the Objection having been given; no response to the Objection having been filed;
 5   and good cause appearing:
 6         IT IS ORDERED that:
 7          1.    The Objection [DE 7527] is sustained; and
 8          2.    The claims listed on Exhibit A are disallowed in the amounts shown there as
 9   duplicative amount.
10   PREPARED AND RESPECTFULLY SUBMITTED BY:
11   LEWIS AND ROCA LLP
12
     By     /s/ John Hinderaker (018024)
13        Rob Charles
          John Hinderaker (pro hac vice)
14   3993 Howard Hughes Parkway, Ste. 600
     Las Vegas, Nevada 89169-5996
15   Telephone: (702) 949-8320
     Facsimile: (702) 949-8321
16
17   Attorneys for USACM Liquidating Trust

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      Case
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                                                                      Page3 4ofof4 5




 1   In accordance with Local Rule 9021, the undersigned certifies:
 2              The Court waived the requirements of LR 9021.
 3              No parties appeared or filed written objections, and there is no trustee appointed
                 in this case.
 4
        ⌧        I have delivered a copy of this proposed order to all counsel who appeared at the
 5               hearing, any unrepresented parties who appeared at the hearing, and any trustee
 6               appointed in this case, and each has approved or disapproved the order, or failed
                 to respond, as indicated below (list each party and whether the party has
 7               approved, disapproved, or failed to respond to the document):

 8    U.S. Trustee:
            approved the form of this order                 disapproved the form of this order
 9
           ⌧ waived the right to review the                  failed to respond to the document
10         order and/or
11    Other Party:
         approved the form of this order                    disapproved the form of this order
12
            waived the right to review the order            failed to respond to the document
13           and/or
14                                                  ###
15
     Submitted by:
16
     LEWIS AND ROCA LLP
17
18
     By:    /s/ JH (#018024)
19          Rob Charles
            John Hinderaker (pro hac vice)
20   Attorneys for USACM Liquidating Trust

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           Case
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                                                                        Page4 5ofof4 5
USACM                                         Exhibit A
                             Proofs of Claim Asserting Duplicate Amounts
                                                                       Total Amount      Claim Amount
                                                                       of Claim as       Subject To
                                                                       Listed in Claim   Objection as a
Name                       Address                       Claim #       Register          Duplicative Amount
NANCY R GILMOUR IRA        FIRST SAVINGS BANK            10725-02380       406,008.22              203,004.11
                           CUSTODIAN FOR
                           PO BOX 1241
                           CAMANO ISLAND WA 98292-
                           1241
NAYLON, DOMINIQUE          PO BOX 2                      10725-02044    1,168,297.62              584,148.81
                           TOPAZ CA 96133
NEAL, RONALD DOUGLAS       22853 BOXWOOD LN              10725-02170      282,277.38              141,138.69
                           SANTA CLARITA CA 91390-4155
NEVINS JT TEN, RICHARD &   1547 BOB GOALBY LN            10725-02026    2,798,759.62            1,399,379.81
MICHELE                    EL PASO TX 79935
NEWMAN FAMILY TRUST DTD    LARRY J & ELSIE D NEWMAN      10725-02150    1,000,238.46              500,119.23
9/20/97                    TTEES
                           1775 AUTUMN VALLEY WAY
                           RENO NV 89523
NORMA LAMB-GROVES          NORMA LAMB-GROVES             10725-02365      202,986.10              101,493.05
TRUST DTD 2/18/03          TRUSTEE
                           1355 PLAYER CIR
                           ST GEORGE UT 84790
NOXON FAMILY TRUST         C/O ARTHUR G & JOAN NOXON     10725-00972        70,853.66              35,426.83
                           TTEES
                           2657 WINDMILL PKWY #197
                           HENDERSON NV 89074-3384
O`RIORDAN, JOHN E &        2745 HARTWICK PINES DR        10725-01923    3,476,504.52            1,738,252.26
SONHILD A                  HENDERSON NV 89052-7002
OGREN, WILLIAM W & BETTY   22102 SHANNON DELL DR         10725-02161      202,926.38              101,463.19
R                          AUDUBON PA 19403
OLGA O`BUCH TRUST DTD      OLGA O`BUCH TTEE              10725-02121      507,403.52              253,701.76
5/28/98                    140 GAZELLE RD
                           RENO NV 89511




                                                                                    260884.1
